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  UNITED STATES DISTRICT COURT                              EASTERN DISTRICT OF TEXAS


 UNITED STATES OF AMERICA                        §
                                                 §
 versus                                          §           CASE NO. 4:08-CR-54
                                                 §
 EDGAR EVANS                                     §

                                MEMORANDUM AND ORDER

          Pending before the court are Defendant Edgar Evans’s (“Evans”) pro se Motion to Appoint

 Counsel (#49) and Motion for Sentence Reduction (#50) pursuant to 18 U.S.C. § 3582(c)(1)(A),

 wherein Evans seeks a reduction of his sentence to time served due to the threat of Coronavirus

 Disease 2019 (“COVID-19”). United States Probation and Pretrial Services (“Probation”)

 conducted an investigation and recommends that the court deny the motion. Having considered

 the motion, Probation’s recommendation, the record, and the applicable law, the court is of the

 opinion that the motion should be denied.

 I.       Background

          On March 12, 2008, the Grand Jury for the Eastern District of Texas, Sherman Division,

 returned a four-count Indictment against Evans. He was charged in Counts 1, 2, and 4 with

 Distribution of Sexually Explicit Visual Depictions of Minors, in violation of 18 U.S.C.

 § 2252(a)(2), and in Count 3 with Possession of Sexually Explicit Visual Depiction of Minors, in

 violation of 18 U.S.C. § 2252(a)(4). On October 28, 2008, Evans pleaded guilty pursuant to a

 non-binding plea agreement to Count 1 of the Indictment. In the Statement of Facts in support of

 the Plea Agreement, Evans admitted to distributing visual depictions of minors engaged in sexually

 explicit conduct on January 29, 2007, June 14, 2007, and April 14, 2007. Evans also admitted

 to receiving and distributing child pornography that was transported through his computer via the
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 Internet, some of which featured prepubescent children involved in sadistic or masochistic conduct

 and/or other depictions of violence. Further, Evans agreed that he was responsible for possessing

 at least 10, but less than 150, visual depictions of minors engaging in sexually explicit conduct.

 There was also evidence, however, that he had possessed and/or distributed at least 550 sexually

 explicit images of children that had been deleted from his computer. On February 9, 2009, the

 court sentenced Evans to 346 months’ imprisonment, to run concurrently with Evans’s sentence

 for Promotion of Child Pornography in Boone County, Missouri, followed by a 5-year term of

 supervised release. Evans is currently housed at Federal Correctional Institution Beaumont Low,

 located in Beaumont, Texas (“FCI Beaumont Low”). Evans’s projected release date is September

 4, 2033.

 II.    Analysis

        A.      Appointment of Attorney for Post-Conviction Proceedings

        Evans requests the appointment of counsel to assist him in filing a motion for

 compassionate release under 18 U.S.C. § 3582(c). There is no constitutional right to appointed

 counsel in post-conviction proceedings. Pennsylvania v. Finley, 481 U.S. 551, 555 (1987) (“The

 right to appointed counsel extends to the first appeal of right, and no further.”); see Garza v.

 Idaho, ___ U.S. ___, 139 S. Ct. 738, 749 (2019); McCleskey v. Zant, 499 U.S. 467, 494-95

 (1991); Whitaker v. Collier, 862 F.3d 490, 501 (5th Cir. 2017), cert. denied, 138 S. Ct. 1172

 (2018); In re Sepulvado, 707 F.3d 550, 554 (5th Cir.), cert. denied, 571 U.S. 952 (2013).

 Specifically, the Supreme Court of the United States has stated:

        Our cases establish that the right to appointed counsel extends to the first appeal of
        right, and no further. Thus, we have rejected suggestions that we establish a right
        to counsel on discretionary appeals. We think that since a defendant has no federal
        constitutional right to counsel when pursuing a discretionary appeal on direct

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        review of his conviction, a fortiori, he has no such right when attacking a
        conviction that has long since become final upon exhaustion of the appellate
        process.


 Finley, 481 U.S. at 555 (internal citations omitted).

        The court may, however, in the interest of justice, appoint counsel to assist a defendant in

 the pursuit of post-conviction relief where a defendant has raised nonfrivolous claims with

 factually and/or legally complex issues. See United States v. Whitebird, 55 F.3d 1007, 1011 (5th

 Cir. 1995) (“After [a defendant’s first appeal], the decision whether to appoint counsel rests in the

 discretion of the district court.”).

        The exercise of discretion in this area is guided . . . by certain basic principles.
        When applying this standard and exercising its discretion in this field, the court
        should determine both whether the petition presents significant legal issues, and if
        the appointment of counsel will benefit the petitioner and the court in addressing
        this claim.

 United States v. Molina-Flores, No. 3:16-CR-130-N (19), 2018 WL 10050316, at *2 (N.D. Tex.

 Feb. 13, 2018) (quoting Jackson v. Coleman, No. 3:11-cv-1837, 2012 WL 4504485, at *4 (M.D.

 Pa. Oct. 2, 2012)); see Scoggins v. MacEachern, No. 04-10814-PBS, 2010 WL 3169416, at *1

 (D. Mass. Aug. 10, 2010) (“In order to obtain appointed counsel, ‘an indigent litigant must

 demonstrate exceptional circumstances in his or her case to justify the appointment of counsel.’

 The rare cases warranting appointment of counsel in the interests of justice typically involve

 nonfrivolous claims with factually and/or legally complex issues and a petitioner who is severely

 hampered in his ability to investigate the facts.” (quoting Cookish v. Cunningham, 787 F.2d 1,

 2 (1st Cir. 1986))).

        Evans is not entitled to the appointment of counsel to assist him with seeking

 compassionate release under 18 U.S.C. § 3582. See Finley, 481 U.S. at 555; Whitebird, 55 F.3d

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 at 1010-11 (declining to recognize constitutional or statutory right to assistance of counsel in

 bringing § 3582(c)(2) motion for sentence reduction); United States v. Vasquez, No. CR

 2:18-1282-S-1, 2020 WL 3000709, at *3 (S.D. Tex. June 2, 2020) (“There is no right to counsel

 in § 3582 or other post-appellate criminal proceedings.”). Moreover, Evans provides no basis for

 the court to conclude that the appointment of counsel would help him obtain relief. A motion “for

 compassionate release is not particularly complex factually or legally.” United States v. Drayton,

 No. 10-200018, 2020 WL 2572402, at *1 (D. Kan. May 21, 2020); see United States v. Wilfred,

 No. 07-351, 2020 WL 4698993, at *1 (E.D. La. Aug. 13, 2020). His Presentence Investigation

 Report (“PSR”) reveals that Evans was born in California, was raised in Oklahoma, and has

 resided in Texas since his early 20’s. He is a high school graduate, has worked as a welder, safety

 inspector, and quality control specialist, and he has owned his own business. In any event, Evans

 has failed to raise any potentially viable claims or any factually or legally complex issues that

 could arguably justify the appointment of post-conviction counsel. Evans is 64 years old and there

 is no indication that he is seriously ill, disabled, or otherwise a candidate for compassionate

 release. Thus, the court finds that the discretionary appointment of counsel is not warranted. See

 18 U.S.C. § 3006A(a)(2) (allowing appointment of counsel under certain circumstances when “the

 court determines that the interests of justice so require”). Accordingly, Evans’s motion for

 appointment of counsel is denied.

        B.      Compassionate Release

                1.     Exhaustion

        On December 21, 2018, President Trump signed the First Step Act of 2018 into law. See

 First Step Act of 2018, Pub. L. No. 115-391, 132 Stat. 5194. The Act, in part, amended 18


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 U.S.C. § 3582(c), which gives the court discretion, in certain circumstances, to reduce a

 defendant’s term of imprisonment:

        The court, upon motion of the Director of the Bureau of Prisons (“BOP”), or upon
        motion of the defendant after the defendant has fully exhausted all administrative
        rights to appeal a failure of the [BOP] to bring a motion on the defendant’s behalf
        or the lapse of 30 days from the receipt of such a request by the warden of the
        defendant’s facility, whichever is earlier, may reduce the term of imprisonment
        (and may impose a term of probation or supervised release with or without
        conditions that does not exceed the unserved portion of the original term of
        imprisonment), after considering the factors set forth in section 3553(a) to the
        extent that they are applicable, if it finds that extraordinary and compelling reasons
        warrant such a reduction; or the defendant is at least 70 years of age, has served
        at least 30 years in prison, pursuant to a sentence imposed under section 3559(c),
        for the offense or offenses for which the defendant is currently imprisoned, and a
        determination has been made by the Director of the [BOP] that the defendant is not
        a danger to the safety of any other person or the community, as provided under
        section 3142(g); and that such a reduction is consistent with applicable policy
        statements issued by the Sentencing Commission . . . .

 18 U.S.C. § 3582(c)(1)(A). This provision is commonly referred to as “compassionate release.”

        Prior to the First Step Act, only the Director of the BOP could file a motion seeking

 compassionate release. See United States v. Franco, 973 F.3d 465, 467 (5th Cir. 2020) (“Prior

 to the passage of the First Step Act . . . courts lacked the power to adjudicate motions for

 compassionate release.”); Tuozzo v. Shartle, No. 13-4897, 2014 WL 806450, at *2 (D.N.J. Feb.

 27, 2014) (denying petitioner’s motion for compassionate release because no motion for his release

 was filed by the BOP). The First Step Act amended § 3582(c) by providing a defendant the means

 to appeal the BOP’s decision not to file a motion for compassionate release on the defendant’s

 behalf. United States v. Cantu, 423 F. Supp. 3d 345, 347 (S.D. Tex. 2019); United States v. Bell,

 No. 3:93-CR-302-M, 2019 WL 1531859, at *1 (N.D. Tex. Apr. 9, 2019). The plain language

 of the statute, however, makes it clear that the court may not grant a defendant’s motion for

 compassionate release unless the defendant has complied with the administrative exhaustion

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 requirement. 18 U.S.C. § 3582(c)(1)(A); Franco, 973 F.3d at 467 (holding that the statutory

 requirement that a defendant file a request with the BOP before filing a motion for compassionate

 release in federal court “is not jurisdictional but that it is mandatory”); United States v. Alam, 960

 F.3d 831, 833 (6th Cir. 2020) (“Even though [the] exhaustion requirement does not implicate [the

 court’s] subject-matter jurisdiction, it remains a mandatory condition.”); United States v. Raia,

 954 F.3d 594, 597 (3d Cir. 2020) (“[T]he exhaustion requirement . . . presents a glaring

 roadblock foreclosing compassionate release.”). Thus, before seeking relief from the court, a

 defendant must first submit a request to the warden of his facility to move for compassionate

 release on his behalf and then either exhaust his administrative remedies or wait for the lapse of

 30 days after the warden received the request. 18 U.S.C. § 3582(c)(1)(A); Franco, 973 F.3d at

 467 (“The text . . . outlines two routes a defendant’s motion can follow to be properly before the

 court. Both routes begin with the defendant requesting that ‘the [BOP]’ ‘bring a motion on the

 defendant’s behalf.’”); United States v. Harris, 812 F. App’x 106, 107 (3d Cir. 2020); United

 States v. Springer, 820 F. App’x 788, 791 (10th Cir. 2020) (defendant “was required to request

 that the BOP file a compassionate-release motion on his behalf to initiate his administrative

 remedies” (citing Raia, 954 F.3d at 595)); Alam, 960 F.3d at 833-34; United States v. Soliz, No.

 2:16-190-3, 2020 WL 2500127, at *3 (S.D. Tex. May 14, 2020) (“§ 3582(c)(1)(A) does not

 provide this Court with the equitable authority to excuse [defendant’s] failure to exhaust his

 administrative remedies or to waive the 30-day waiting period.” (quoting United States v. Reeves,

 No. 18-00294, 2020 WL 1816496, at *2 (W.D. La. Apr. 9, 2020))).

        Here, Evans complied with the exhaustion requirement before filing the instant motion.

 Probation’s investigation reveals that on July 3, 2020, Evans filed his request for compassionate


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 release with the warden where he is housed. Additionally, Probation notes that on July 4, 2020,

 Warden F. J. Garrido denied Evans’s request because Evans did not meet the criteria for

 compassionate release. Probation’s investigation further revealed that on July 16, 2020, Sreedhar

 Polavarapu, M.D., evaluated Evans and advised that he has no justifiable medical conditions that

 would qualify him for compassionate release. Dr. Polavarapu further noted that due to Evans’s

 healthy status, if he were to contract the COVID-19 virus, he still did not have any higher risk for

 morbidity/mortality compared to other inmates within his same age group. Although Evans

 complied with the exhaustion requirement, nothing in his motion indicates that extraordinary and

 compelling reasons exist to reduce his sentence.

        Congress did not define “extraordinary and compelling.” Rather, it elected to delegate its

 authority to the United States Sentencing Commission (“the Commission”). See 28 U.S.C.

 § 994(t) (“The Commission, in promulgating general policy statements regarding the sentencing

 modification provisions in section 3582(c)(1)(A) of title 18, shall describe what should be

 considered extraordinary and compelling reasons for sentence reduction, including the criteria to

 be applied and a list of specific examples.”); see also U.S. SENTENCING GUIDELINES MANUAL

 § 1B1.13 (U.S. SENTENCING COMM’N 2018) (“USSG”). In Application Note 1 to § 1B1.13 of

 the USSG, the Commission defined “extraordinary and compelling reasons” to include the

 following four categories of circumstances: (i) certain medical conditions of the defendant; (ii)

 the defendant is 65 years or older and meets other requirements; (iii) the defendant’s family has

 specified needs for a caregiver; and (iv) other reasons in the defendant’s case that establish an

 extraordinary and compelling reason. The court must also consider the factors set forth in 18




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 U.S.C. § 3553(a),1 as applicable, and find that the sentence modification is consistent with the

 policy statements issued by the Commission. 18 U.S.C § 3582(c)(1)(A). The policy statement

 regarding compassionate release requires a determination that “the defendant is not a danger to

 the safety of any other person or to the community.” U.S.S.G. § 1B1.13(2).

                 2.       “Other Reasons” for Release

         As grounds for relief set forth in his motion, Evans does not claim that he has a serious

 medical condition or that his family has specific needs for a caregiver. Instead, Evans contends

 that “other” extraordinary and compelling reasons exist that warrant his early release from prison

 due to the conditions created by COVID-19. In support of his position, Evans asserts that he has

 “been infected with this virus in the living quarters and faces an uncertain future as related to his

 his health.” Additionally, Evans contends that the following are compelling reasons to reduce his

 sentence: “he pleaded guilty and accepted responsibility for his actions in this case never

 expecting to receive a 346-month sentence,” “he has had not a single . . . violation in more than

 ten years in prison,” and “he has also completed multiple programs offered by the Bureau aimed

 at reducing recidivism and maximizing the success of reentry.”

         The catch-all category of “other” extraordinary and compelling reasons specifically states

 that the Director of the BOP shall determine whether “there exists in the defendant’s case an



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           Section 3553(a) directs courts to consider: the nature and circumstances of the offense and the
 defendant’s history and characteristics; the need to reflect the seriousness of the offense, to promote
 respect for the law, and to provide just punishment for the offense; the need to deter criminal conduct; the
 need to protect the public; the need to provide the defendant with needed educational or vocational training,
 medical care, or other correctional treatment in the most effective manner; the kinds of sentences and
 sentencing ranges established for defendants with similar characteristics under applicable USSG provisions
 and policy statements; any pertinent policy statement of the Commission in effect on the date of sentencing;
 the need to avoid unwarranted disparities among similar defendants; and the need to provide restitution to
 the victim. 18 U.S.C. § 3553(a).

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 extraordinary and compelling reason other than, or in combination with, the reasons described in

 subdivisions (A) through (C).” U.S.S.G. § 1B1.13 cmt. n.1(D). Although Subdivision D is

 reserved to the BOP Director, the Commission acknowledged, even before the passage of the First

 Step Act, that courts are in the position to determine whether extraordinary and compelling

 circumstances are present. United States v. Beck, 425 F. Supp. 3d 573, 583 (M.D.N.C. 2019)

 (“Read in light of the First Step Act, it is consistent with the previous policy statement and with

 the Commission guidance more generally for courts to exercise similar discretion as that

 previously reserved to the BOP Director in evaluating motions by defendants for compassionate

 release.”); see Cantu, 423 F. Supp. 3d at 352 (“[T]he correct interpretation of § 3582(c)(1)(A)

 . . . is that when a defendant brings a motion for a sentence reduction under the amended

 provision, the Court can determine whether any extraordinary and compelling reasons other than

 those delineated in U.S.S.G. § 1B1.13 cmt. n.1(A)-(C) warrant granting relief.”). In this

 instance, there is no indication that the BOP Director made a determination regarding the presence

 of extraordinary and compelling reasons with respect to Evans for any “other” reason. In

 exercising its discretion, the court, likewise, finds that no extraordinary and compelling reasons

 exist in relation to Evans’s situation.

        According to Evans’s PSR, he received a three-point reduction in the calculation of his

 sentence for acceptance of responsibility, which resulted in a total offense level of 39. Thus, his

 assertion that he accepted responsibility cannot constitute an “other” reason for a reduction of his

 sentence at this time because Evans already received the benefit of such acceptance. Evans also

 cannot be surprised that he was sentenced to 346 months’ imprisonment, as the notice of penalty

 attached to the Indictment cited a penalty range of 15 to 40 years’ imprisonment, and the PSR


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  recommended a sentence of 365 months’ imprisonment. Further, Evans maintains that his

  post-sentence rehabilitation and good conduct in prison, evidenced by a list of courses and

  programs he has completed, establish extraordinary and compelling reasons for early release.

  While the court may consider rehabilitation efforts, “rehabilitation of the defendant is not, by

  itself, an extraordinary and compelling reason for purposes of this policy statement.” U.S.S.G.

  § 1B1.13 cmt. n.3; accord 28 U.S.C. § 994(t); see United States v. Brooker, 976 F.3d 228, 237-

  38 (2d Cir. 2020) (holding that a district court’s discretion in sentencing is broad; however, there

  is a “statutory limit on what a court may consider to be extraordinary and compelling . . . [and]

  ‘[r]ehabilitation . . . alone shall not be considered an extraordinary and compelling reason.’”

  (quoting 28 U.S.C. § 994(t))); accord United States v. Hudec, No. CR 4:91-1-1, 2020 WL

  4925675, at *5 (S.D. Tex. Aug. 19, 2020) (“While the Court is permitted to consider

  post-sentencing rehabilitation in determining whether to grant an eligible defendant a sentence

  reduction, it is not authorized to grant a reduction based upon post-sentencing rehabilitation

  alone.”). Although the court finds Evans’s list of accomplishments to be commendable, his post-

  sentence conduct is insufficient to support a sentence reduction.

         Evans expresses concerns regarding the spread of COVID-19 among the prison population.

  Nevertheless, as of January 12, 2021, the figures available at www.bop.gov list 29 inmates (out

  of a total inmate population of 1,660) and 2 staff members at FCI Beaumont Low as having

  confirmed positive cases of COVID-19, 1,136 inmates and 4 staff members who have recovered,

  and 1 inmate who has succumbed to the disease. Indeed, according to Probation, Evans’s medical

  records reflect he tested positive for the disease, was placed in isolation, and has now recovered




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  from the virus. Thus, it appears that the facility where Evans is housed is handling the outbreak

  appropriately and providing adequate medical care.

         Moreover, courts have repeatedly denied COVID-19-based motions for compassionate

  release filed by inmates who have already contracted and recovered from the virus. See, e.g.,

  United States v. Stockman, No. H-17-116-2, 2020 WL 5269756, at *3 (S.D. Tex. Aug. 26, 2020)

  (noting that when an inmate is infected and recovers from COVID-19, the courts have found the

  risks of infection or severe symptoms or effects because of underlying conditions change and

  diminish); United States v. Baker, No. CR 16-179, 2020 WL 4584195, at *4 (E.D. La. Aug. 10,

  2020) (“Courts have denied COVID-19-based motions for compassionate release filed by inmates

  who have already contracted the virus.”); United States v. Neal, No. CR 11-28, 2020 WL

  4334792, at *1 (E.D. La. July 28, 2020) (“Courts have repeatedly found that defendants who

  contract COVID-19 and recover are not among those who fall within the guidelines or demonstrate

  ‘extraordinary and compelling reasons,’ meriting a reduction in their sentence.”); United States

  v. Gallegos, No. 4:17-CR-568, 2020 WL 3403032, at *3 (S.D. Tex. June 19, 2020) (“Having

  already contracted and fully recovered from COVID-19, the Court cannot say that Defendant’s

  asthma ‘substantially diminishes [his] ability . . . to provide self-care within the environment of

  a correctional facility.’” (quoting U.S.S.G. § 1B1.13)).

         The remainder of Evans’s arguments are nothing more than an attempt to revisit

  determinations made years ago at the time of his sentencing in February 9, 2009. On February

  17, 2009, Evans’s court-appointed counsel, at the direction of Evans, filed an appeal with the

  United States Court of Appeals for the Fifth Circuit challenging his conviction and sentence. On

  December 15, 2009, the Fifth Circuit dismissed Evans’s appeal as frivolous, rendering his


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  conviction and sentence final. Evans has not sought habeas corpus relief, and the time for doing

  so has expired. “The principle of finality . . . is essential to the operation of our criminal justice

  system.” Teague v. Lane, 489 U.S. 288, 309 (1989). Recognizing the importance of finality,

  Justice Harlan stated in his concurring opinion in Mackey v. United States:

         No one, not criminal defendants, not the judicial system, not society as a whole is
         benefited by a judgment providing that a man shall tentatively go to jail today, but
         tomorrow and every day thereafter his continued incarceration shall be subject to
         fresh litigation.

  401 U.S. 667, 691 (1971). This principle of finality forecloses Evans’s current endeavor to

  circumvent the limitations on post-conviction relief by challenging determinations made at

  sentencing under the guise of a compassionate release motion. In short, Evans has not presented

  any “other reasons” establishing extraordinary and compelling reasons meriting a reduction of his

  sentence.

         The court further finds that a sentence reduction is not warranted in light of the applicable

  factors set forth in § 3553(a). See 18 U.S.C. § 3582(c)(1)(A) (requiring courts to consider the

  § 3553(a) factors before granting compassionate release); United States v. Chambliss, 948 F.3d

  691, 693-94 (5th Cir. 2020)(“[C]ompassionate release is discretionary, not mandatory, and [may]

  be refused after weighing the sentencing factors of 18 U.S.C. § 3553(a).”). The nature and

  circumstances of Evans’s offense of conviction entail his possession and distribution via his

  computer of between 15-150 depictions of children engaging in sexually explicit activity. Some

  of the depictions featured prepubescent children and portrayed sadistic or masochistic conduct and

  other depictions of violence. Evans also engaged in graphic chat room conversations with

  undercover officers posing as minors.



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         In fact, as set forth in Evans’s PSR, he engaged in a pattern of activity involving the sexual

  abuse and/or exploitation of minors over a period of years. In May 2007, Evans contacted an

  individual via an online chat room, whom he believed to be a 13-year old girl (“T.W.”), but was

  actually an undercover agent. Evans questioned T.W. about her sexual experiences to which T.W.

  answered that her mom’s ex-boyfriend had touched her breasts and that she would be willing to

  have sex with another man, if her mom got a new boyfriend. Evans replied to T.W.’s reponses

  by stating that he was her mom’s new boyfriend and suggested they have sex. Evans also confided

  in T.W. that he used to “do” his stepdaughter when she was 12 years old. Evans also mentioned

  to T.W. that he was viewing pictures of girls as they conversed. During other chat sessions with

  an undercover agent posing as a different minor, Evans encouraged the minor to masturbate and

  asked her to touch her nipples for him. Evans also proposed meeting the minor and her mother

  for the purpose of engaging in sexual activity.

         Evans’s criminal history includes prior convictions for indecency with a child and sexual

  assault of a child in 1994, both involving his stepdaughter, and two convictions for promoting

  child pornography in 2007. As reflected in his PSR, Evans explicitly acknowledged to Probation

  that he has a sexual deviancy problem. Evans also has a history of substance abuse. Under the

  circumstances, the court cannot conclude that Evans would not pose a danger to the safety of any

  other person or to the community, if released from prison at this juncture.

         In addition, granting Evans compassionate release would fail to provide just punishment

  for his offense and promote respect for the law. In Chambliss, the United States Court of Appeals

  for the Fifth Circuit found that the district court did not abuse its discretion in denying

  compassionate release to a defendant due to the defendant’s not yet having served a significant


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  portion of his sentence. Id. at 694. The district court determined that the defendant’s terminal

  illness “constitut[ed] ‘an extraordinary and compelling reason for a sentence reduction’ and that

  he ‘[did] not present a danger upon release,’” but denied release because “releasing [the defendant]

  after serving only 14 years of a 30-year sentence minimizes both the impact of [the defendant’s]

  crime and seriousness of the offense.” Id. at 693-94. “Moreover, the [district] court, citing the

  § 3553(a) factors, determined that requiring [the defendant] to serve the remainder of his sentence

  would ‘provide just punishment for the offense’ and ‘afford adequate deterrence to criminal

  conduct.’” Id. In the instant case, releasing Evans after he has served only approximately 41%

  of his sentence, would similarly minimize the impact of his crime and the seriousness of his

  offense. In sum, Evans has failed to satisfy his burden of showing the necessary circumstances

  to warrant a sentence reduction under the statutory framework to which the court must adhere.

         Moreover, the BOP has instituted a comprehensive management approach that includes

  screening, testing, appropriate treatment, prevention, education, and infection control measures

  in response to COVID-19. In response to a directive from the former United States Attorney

  General in March 2020, the BOP immediately began reviewing all inmates who have COVID-19

  risk factors, as described by the Centers for Disease Control and Prevention, for the purpose of

  determining which inmates are suitable for placement on home confinement. See United States

  v. Collins, No. CR 04-50170-04, 2020 WL 1929844, at *3 (W.D. La. Apr. 20, 2020). The BOP

  notes that inmates need not apply to be considered for home confinement, as this is being done

  automatically by case management staff. Since March 26, 2020, the BOP has placed 20,125

  inmates on home confinement. The March 2020 directive is limited to “eligible at-risk inmates

  who are non-violent and pose minimal likelihood of recidivism and who might be safer serving


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  their sentences in home confinement rather than in BOP facilities.” United States v. Castillo, No.

  CR 2:13-852-1, 2020 WL 3000799, at *3 (S.D. Tex. June 2, 2020). The BOP has the exclusive

  authority to determine where a prisoner is housed; thus, the court is without authority to order

  home confinement. 18 U.S.C. § 3621(b); United States v. Donnell, ___ F. Supp. 3d ___, No.

  4:10-CR-65-SDJ-CAN, 2020 WL 5939095, at *7 (E.D. Tex. Aug. 4, 2020); Ambriz v. United

  States, 465 F. Supp. 3d 630, 633 (N.D. Tex. 2020); United States v. Miller, No. 2:17-CR-015-D

  (02), 2020 WL 2514887, at *1 (N.D. Tex. May 15, 2020) (“[N]either the CARES Act nor the

  First Step Act authorizes the court to release an inmate to home confinement.”).

         In his Memorandum to the BOP dated March 26, 2020, former Attorney General Barr

  acknowledges that the Department of Justice (“DOJ”) has an obligation to protect both BOP

  personnel and inmates. He also notes that the DOJ has the responsibility of protecting the public,

  meaning that “we cannot take any risk of transferring inmates to home confinement that will

  contribute to the spread of COVID-19 or put the public at risk in other ways.” The Attorney

  General issued a subsequent Memorandum to the BOP on April 3, 2020, in which he emphasizes

  that police officers protecting the public face an increased risk from COVID-19 and cannot avoid

  exposure to the virus, with their numbers dwindling as officers who contract the virus become ill

  or die or need to recover or quarantine to avoid spreading the disease. Accordingly, he cautions:

         The last thing our massively over-burdened police forces need right now is the
         indiscriminate release of thousands of prisoners onto the streets without any
         verification that those prisoners will follow the laws when they are released, that
         they have a safe place to go where they will not be mingling with their old criminal
         associates, and that they will not return to their old ways as soon as they walk
         through the prison gates.

  As the court noted in United States v. Preston, “[t]he best predictor of how [Defendant] will

  behave if he were to be released is how he behaved in the past, and his track record is a poor

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  one.” No. 3:18-CR-307-K, 2020 WL 1819888, at *4 (N.D. Tex. Apr. 11, 2020) (quoting United

  States v. Martin, 447 F. Supp. 3d 399, 403 (D. Md. 2020)). Here, Evans’s track record is

  similarly a poor one. There is no reason to believe that Evans would not revert to his acts of

  sexual deviancy, if released from prison at this time.

         In short, Evans has failed to satisfy his burden of showing the necessary circumstances to

  warrant relief under the statutory framework to which the court must adhere. See United States

  v. Dodge, No. 17-323-01, 2020 WL 3668765, at *5 (W.D. La. July 6, 2020) (stressing that “the

  rampant spread of the coronavirus and the conditions of confinement in jail, alone, are not

  sufficient grounds to justify a finding of extraordinary and compelling circumstances”); Koons,

  455 F. Supp. 3d at 291-92 (same). As the court observed in Koons, rejecting the notion that it has

  “carte blanche” authority to release whomever it chooses, “[t]he Court cannot release every

  prisoner at risk of contracting COVID-19 because the Court would then be obligated to release

  every prisoner.” Dodge, 2020 WL 3668765, at *6; Koons, 455 F. Supp. 3d at 292.

  III.   Conclusion

         In accordance with the foregoing analysis, Evans’s pro se Motion to Appoint Counsel (#49)

  and Motion for Sentence Reduction (#50) are DENIED.

         SIGNED at Beaumont, Texas, this 12th day of January, 2021.




                                            ________________________________________
                                                        MARCIA A. CRONE
                                                 UNITED STATES DISTRICT JUDGE




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